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                                                               EXPERT REPORT

                                                       SUZANNE PARISIAN, M.D.

               In RE: XARELTO (Rivaroxaban) Products Liability Litigation (MDL-2592)



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I.    QUALIFICATIONS

     1. In August 1995, I founded MD Assist, Inc., a regulatory and medical consulting firm
        specializing in matters involving the regulation of products by the United States Food
        and Drug Administration (“FDA”). I received my medical degree from the University
        of South Florida in 1978 and Board Certification in Anatomic and Clinical Pathology in
        1989. I also received a Masters in Biology from the University of Central Florida. I
        have been a general practitioner and President of Mountain Emergency Physicians. I
        am the author of FDA Inside and Out, published in May 2001, which is a text about the
        FDA’s history and procedures.

     2. From 1991 to 1995, I served as a Commissioned Officer in the United States Public
        Health Service and achieved the rank of Lt. Commander. During that time, I was
        primarily assigned to the Center for Devices and Radiological Health (“CDRH”) at the
        FDA. Concurrently, I was also assigned clinical responsibilities at the Armed Forces
        Institute of Pathology, Office of the Medical Examiner for the Armed Forces,
        Washington, D.C.

     3. From 1991 to 1993, I was a FDA Medical Officer in the Office of Health Affairs
        (“OHA”), a staff office within CDRH, FDA. In OHA, I provided regulatory support to
        both FDA’s Office of Compliance and FDA’s Office of Device Evaluation. My
        responsibilities in OHA included health hazard and health risk assessment, Safety
        Alerts and physician and layperson communications, review of adverse event reports
        (“AER”) and medical literature and review of product labeling, promotions,
        advertising, and corporate records. As to compliance with the Food Drug and Cosmetic
        Act (“FDCA”), I was responsible for the review of mandatory adverse event reports
        submitted by manufacturers, as well as the review of reports voluntarily submitted
        directly to FDA by health care providers, patients and others. I presided over 162 health
        risk assessments convened to advise FDA on overall health risk issues for the public.
        Along with others, I made recommendations to FDA regarding regulatory actions that
        should be undertaken by FDA, health care providers, user groups and manufacturers to
        help protect the public’s welfare. My assignment at OHA specifically included
        identification of safety issues. I participated in mandatory recalls and in an
        administrative hearing as FDA’s expert witness.

     4. An example of a drug safety issue that I helped identify and manage for FDA as its
        medical officer involved ACE Inhibitors (“ACEI”). FDA had received adverse
        experience reports in its MedWatch databases of serious adverse events and deaths
        occurring in renal patients taking ACEI drugs for regulation of blood pressure. From
        reviewing the MedWatch AERs, the renal patients shared a common precipitating event
        - blood exposure to certain types of hemodialyzer membranes during a dialysis session
        shortly after taking a dose of ACEI. ACEI had been a class of drugs first approved by
        FDA for marketing in the 1980s. There had been relatively little safety information
        about these drugs and none regarding hemodialysis safety. When a patient would take
        an ACEI and then have their blood exposed to a specific type of membrane surface,

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      whether for hemodialysis or LDL apheresis, a sudden, life-threatening anaphylactoid
      reaction could be triggered.

   5. As the only FDA medical officer involved in this safety issue, I reviewed both drug and
      device adverse event reports, reviewed medical literature, performed a health risk
      assessment as described per 21 CFR Part 7, and, ultimately, made a clinical
      recommendation to FDA to a reasonable degree of medical certainty. Health care
      providers needed to be quickly informed by FDA of the ACEI membrane association.
      FDA and the pharmaceutical and medical device industries needed help to identify the
      etiology of the reaction. Physicians needed recommendations as to emergency
      treatment. No other FDA medical officer was assigned involvement in the work-up or
      handling of this drug/device safety issue. Working with an FDA epidemiologist, I
      helped design and issue FDA’s epidemiologic study to quickly obtain additional data
      for FDA and the involved industries. The epidemiologic study was in the form of a
      questionnaire contained in FDA’s Safety Alert and was designed to help capture the
      overall risk to the public; to raise awareness of the issue for medical providers; to
      define the pharmacological mechanisms involved; and to trigger the appropriate label
      changes for both the involved drugs and devices in order to protect the public. As a
      result, I helped draft the current ACEI class drug warning about the risks of membrane
      surface exposure and anaphylactoid reaction.

   6. From March 1993 to December 1993, I was a Medical Officer in the Office of Device
      Evaluation (“ODE”), Division of Reproductive Abdominal, Ear, Nose and Throat, and
      Radiology Devices, FDA. From January 1993 through June 1995 I was one of two
      Chief Medical Officers in ODE. ODE, in contrast to OHA, is primarily responsible for
      pre-marketing evaluation of new product applications and clinical trials that support
      safety and effectiveness, which, if proven, allow a company to begin marketing within
      the United States. In ODE, I participated in the review of proposed clinical trials, the
      review of pre-marketing applications (including review of animal toxicology and
      biocompatibility data), and training new medical officers and scientific reviewers in
      application, clinical trial, and labeling evaluation. I was the primary reviewing medical
      officer in charge of pre-marketing approval applications required for adherence to drug
      guidances published by FDA’s Center for Drug Evaluation and Research’s (“CDER”)
      and for presentation at the FDA Advisory Panel with members from CDRH and CDER.
      I was a primary author for FDA’s guidance for Hemodialyzer Reuse labeling. I
      consulted as a medical officer on INDs for combination products including drugs and
      biologics. While in ODE, I conducted an additional 100 health risk assessments and
      was required to train medical officers as to methods for health risk assessments, health
      hazard evaluations, annual report requirements, adverse event reporting, and labeling
      review.

   7. I was an initial instructor in FDA’s Staff College for training FDA reviewers in the
      design and evaluation of clinical data in investigational and pre-marketing applications.
      I had primary responsibility for review of marketing applications and labeling and was
      required to teach medical officers the process for evaluation and review required by


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      FDCA directed to product marketing. I was also charged with training medical officers
      on the process for health risk assessment and health evaluation per 21 CFR Part 7.

   8. Regarding post-market surveillance of marketed products, I participated with FDA’s
      District Offices, Office of General Counsel, and the Office of Compliance in the review
      of manufacturing records, product labeling, product complaints and adverse event
      reports submitted to FDA. I was the primary clinician involved in several of FDA’s
      Major Corporate-Wide Actions for which I received various citations and honors for
      my services to FDA. My awards have included Department of Health and Human
      Services and Food and Drug Administration Employee of the Month.

   9. I was sent by FDA to serve as an official Agency representative at medical meetings
      and seminars and to help identify and monitor conduct of manufacturers for potential
      deviations from regulations governing prohibited and promotional activities. At those
      events, I was required to provide official guidance as to FDA’s interpretation of Food
      and Drug Laws as they pertain to all medical products and the roles of manufacturers
      and health care providers.

   10. While at FDA, I helped draft Agency documents, guidance documents for the industry
       outlining the requirements for obtaining FDA’s marketing approval and the FDA Safety
       Alerts directed to healthcare providers and their patients. I also provided FDA’s
       comments for voluntary warnings, physician and user notifications, and voluntary
       industry standards. I was one of FDA’s liaisons with the National Institutes of Health
       (“NIH”) for issues involving ENT, renal, respiratory, and women’s health. I was also
       FDA’s first liaison for the Office of Alternative Medicine. In that position, I was
       required to provide support to the Health Care Financing Agency regarding FDA’s
       approval of products and issues involving hemodialysis. As part of my work, I was
       assigned responsibility for product adverse event reporting to the Department of
       Defense and Veterans Administration.

   11. One of my assigned responsibilities at FDA, based on my clinical training and
       experience, was to review facts contained in product marketing applications, clinical
       trials, medical literature, reports of post-marketing experience, and available
       manufacturing documents gathered by FDA or provided to FDA by the manufacturer or
       other regulatory agencies. I then used those facts and documents to (a) make a clinical
       determination for FDA pursuant to the FDCA to a reasonable degree of medical
       certainty, and (b) recommend the courses of action available to FDA to protect the
       public health. I was also required by FDA to advise and train other FDA employees
       regarding the review of facts of a case or issue and the requirements of the FDCA, and
       how to make a determination to a reasonable degree of medical certainty regarding the
       clinical impact of the Agency’s actions to the public. The health risk assessment
       process is further described in 21 CFR Part 7. During my tenure at FDA, I reviewed
       hundreds of marketing applications for safety and efficacy as well as proposed draft
       labeling. In this capacity, I worked with industry scientists and academic clinical
       investigators for the evaluation, marketing and labeling review of new products. I
       organized national conferences with industry representatives and physicians to discuss

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           and obtain expert consensus regarding the development of new products and labeling as
           well as evaluating existing products on the market for safety and efficacy.

       12. At the Armed Forces Institute of Pathology, Office of the Medical Examiner, I was
           required, again based on my clinical training and experience in pathology, to take all
           available facts surrounding a patient’s death and any involved adverse events and (a)
           make a final determination, to a reasonable degree of medical certainty, as to the cause
           of death, and (b) to recommend the next steps that should be taken by the military or
           another agency of the federal government. In that capacity as a Medical Examiner, I
           provided support to the various legal staff of the armed services, as well as to the FBI
           and CIA.1

       13. Since leaving FDA, and founding MD Assist, Inc., I continue to provide regulatory
           information to individuals, manufacturers, and organizations regarding FDA’s
           requirements, related to AER, labeling, and postmarket issues. I have consulted on
           premarket applications and safety issue for devices, biologics and drugs. In 1997, I was
           requested by FDA to participate in a panel of outside experts convened to comment on
           changes proposed in requirements for medical device labeling. I have consulted with
           manufacturers and lectured at conferences and seminars regarding FDA, pre-market
           clearance, design of clinical trials, product labeling, Corrective and Preventive Action
           (“CAPA”), and Good Manufacturing Practices (GMP).

       14. In August of 1995, after leaving the FDA, I founded and remain President of MD
           Assist, Inc. (“MDA”), a regulatory and medical consulting firm specializing in matters
           involving the FDA, regulation of medical products and issues regarding public health.
           At MDA, I continue to use my medical and FDA-acquired training and skills to help
           design and market new medical products; present marketing applications to FDA;
           design, conduct and review clinical studies; create and evaluate marketing applications;
           draft product labeling; investigate potential adverse events; review biocompatibility
           data; and instruct about the requirements of the FDA.

       15. I have helped manufacturers, primarily startup companies, with initial product design,
           clinical investigation, labeling and marketing of new drugs and devices intended to be
           implanted in the central nervous system (brain, spine or ear), as well as urological,
           gynecological, and gastrointestinal tracts, or to be used as a treatments or diagnostic
           tools for the mouth or lungs or eyes. I have consulted with industry entities regarding
           clinical and laboratory investigation, review of data, labeling, financing, marketing, and
           insurance reimbursement of products, including drugs, devices, biologics, and
           combination products intended for treatment or diagnosis of cancer, pulmonary disease,
           or infection.


1
  While a medical examiner at the AFIP, I determined that a cause of civilian patient deaths occurring in military
hospitals, to a reasonable degree of medical certainty, appeared to have been associated with an unanticipated
drug/device effect. I reported my findings as a MedWatch report to FDA. As an AFIP Medical Examiner, I was able
to trigger FDA to investigate a major drug regulatory safety action which resulted in the protection of public health.


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   16. As stated above, I am the author of FDA Inside and Out, which I published in May
       2001. It is a textbook about the history and rules and regulations of the FDA. The book
       has been used as a graduate school textbook at universities in courses teaching about
       the FDA. As of January 2011, it is currently listed as a library reference book about the
       FDA at 71 libraries, including for the FDA Biosciences Library, Center for Disease
       Control and Prevention (CDC), Harvard, Massachusetts Institute of Technology,
       University of Maryland, United States Naval Academy, Quintiles, Armed Forces
       Medical Library, and the British Library. I have lectured to industry about all aspects of
       FDA and its requirements. I have also lectured about the FDA and the drug and device
       approval process to medical students, graduate students and law students.

   17. Since 1997, I have been involved in providing support for litigation. My primary role in
       litigation utilizes the same methodology and role I have for consulting for industry on
       FDA issues. I review and evaluate corporate documents and statements, medical and
       scientific literature, relevant FDA documents in terms of the Food Drug and Cosmetic
       Act and implementing regulations. Just as I began to do for the FDA, I discuss the
       FDA’s relevant requirements in terms of history, procedures, role and the role and
       requirements of manufacturers. I then relate the actions of a company (or companies)
       for the products involved in terms of known and knowable information and regulatory
       requirements based on my training and experience. As I first did for the FDA, I utilize a
       review of FDA’s documents, manufacturer’s documents, scientific and medical
       literature product history, adverse event reports, pre-clinical and clinical information to
       formulate risk versus benefit opinions made to a degree of reasonable and professional
       certainty regarding the documented actions of a manufacturer in terms of duties,
       obligations and compliance with the Act and implementing regulations.

   18. Based on the work I have done, using the methodology I was first trained to use at FDA
       for clinical review and health risk assessment, as well as my scientific and medical
       education, professional training, and experience, I have reached the following opinions
       regarding the actions of the Bayer Healthcare, Inc. and Janssen Pharmaceutical Inc., a
       subsidiary Johnson & Johnson Company (“Defendants”) with joint development,
       testing and marketing of XARELTO (Rivaroxaban) in the United States for reduction
       of the risk of stroke and systemic embolism in patients with non-valvular atrial
       fibrillation (SPAF) (approved November 4, 2011). The documents reviewed for both
       Defendants are the same general types of documents I would have reviewed at the
       FDA, including the medical literature, adverse events reports, complaints, marketing
       application documents, and communications with FDA.

   19. My expert opinions are based on my medical background, training , both clinical and
       beginning with FDA and the same methodology of review and analysis used in my
       regulatory practice. In terms of the report design, the opinions with the relevant
       regulations are then followed by the BASES OF OPINIONS. Each opinion is made to a
       reasonable degree of medical, scientific and professional certainty regarding the shared
       regulatory responsibilities and actions of Defendants for United States sales of
       XARELTO (rivaroxaban). XARELTO is a direct Factor Xa inhibitor and belongs to the
       drug class commonly referred to as the new (or novel) oral anticoagulants, but officially

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           titled by the FDA as a class of “Non-Vitamin K dependent Oral Anticoagulants”
           (NOAC) (as well as the larger class of “Direct Oral Anticoagulants” or “DOAC”). The
           class of NOAC drugs was developed by sponsors to provide physicians and patients
           with alternative options for oral anticoagulation therapy to Coumadin (warfarin
           sodium)2 (a synthetic vitamin-K dependent oral anticoagulant approved in 1954), the

2
  Warfarin, known by brand name Coumadin was introduced in 1948 as a pesticide against rats and mice. (i.e.
rodenticide often called “coumarins”- produce life-threatening bleeding in rodents) . Warfarin is a synthetic
derivative of dicumarol a mycotoxin anticoagulant discovered in spoiled sweet clover-based animal feeds. The
name warfarin stems from its discovery at the University of Wisconsin- “WARF” as the Wisconsin Alumni Research
Foundation, and the “arin” is from the link to coumarin. In the 1950s it was found to be effective and relatively safe
for preventing thrombosis (blood clots) and thromboembolisn. It was approved as a drug in 1954 and is the most
widely prescribed oral anticoagulant in North America. The shortcomings of treatment are that it interacts with
other medications and some foods (particularly green leafy vegetables that contain large amounts of vitamin K1. Its
activity has to be monitored by periodic blood testing for the determination of international normalized ration (INR)
and prescription of dosing. A high INR predisposes patients to increased risk of bleeding, while an INR in the
therapeutic target range (TTR) ensures an adequate yet safe dose. An INR below the TTR increases supports a low
dose of warfarin and an increased risk of thromboembolic events. The action of warfarin requires two to three days
before remaining active clotting factors have time to naturally disappear. A single dose of warfarin is active for 2 to
5 days. The pharmacologic action of warfarin can be reversed by administration of vitamin K1. Warfarin is
contraindicated in pregnancy since it passes through the placental and can cause bleeding in the fetus. Coumarins
are known teratogens that cause birth defects.

Newer Point of Care (POC) testing has been available for the patient’s monitoring of INR daily in terms of the
warfarin dose. POC involves a simple finger stick. Patients are making increasing use of self-testing and home
monitoring of oral anticoagulation. International guidelines on home testing were published in 2005. A 2006
systematic review and meta-analysis of 14 randomized trials showed home testing led to a reduced incidence of
complications (thrombosis and major bleeding) and improved the time in TTR. POC is now reimbursed by
Medicare. However, FDA held a Public Workshop in 2016 on March 18, 2016 to present new data regarding the
risk of “POC Prothrombin Time/International Normalized Ratio Devices for Monitoring Warfarin Therapy.” To
improve the clinical management of warfarin and to aid with the development of safe and effective POC and patient
self-testing PT/INR devices.

When a physician begins warfarin therapy (warfarnization) for a patient, the doctor will aim to reach a INR of 2-3 in
most cases. A target INR may be 2.5-3.5 (or even 3.0-4.5) in patients with one or more mechanical heart valves.
The first three days of “warfarinization” the levels of protein C and protein S (anticoagulation factors) will drop
faster than procoagulation proteins (factor II, Vii, IX and X) producing an imbalance towards increased clotting.
Therefore, bridging anticoagulant therapies (usually heparin) are often used to reverse this temporary
hypercoagulable (clot prone) state. The maintenance dose of warfarin for a patient can fluctuate significantly
depending on the amount of vitamin K1 in the diet. Foods high in vitamin K1 are parsley, cilantro, dill, cruciferous
vegetables such as cabbage, broccoli and the darker lettuces and leafy green vegetables. Certain vegetable oils can
be high in vitamin K1. Therefore, the dose of warfarin will continue to require monitoring and adjustment.

Warfarin is best as an anticoagulant in areas of “slowly running blood”- such as the veins and blood pooled behind
artificial heart valves and natural valves as well as pooled blood in dysfunction cardiac atria. It is prescribed to
prevent/treat/reduce clots in patients with atrial fibrillation (AFib), artificial heart valves, DVT and PE- with risks of
clots in veins. It is also used in patients with antiphospholipid syndrome, and will occasional be prescribed post
myocardial infarction (MI) but is considered less effective preventing a new clot in coronary arteries. Prevention of
clotting in arteries is usually done by prescription of antiplatelet drugs which act by a different mechanism.
Approved drug alternatives to warfarin (promoted without a need for drug monitoring or dose titration)- ie
convenience for the patient- are Pradaxa (dabigatran), Eliquis (apixaban), edoxaban, Xarelto (rivaroxaban) –
approved for use in patients with non-valvular AFib. Xarelto is approved for its effects in the veins for
prevention/treatment/ reduction of DVT and PE.


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           current gold standard for oral anticoagulation for patients with risk of thrombosis and
           thromboembolism.

       20. This export report is intended to be no unsupported opinions offered about the ‘state of
           mind’ or ‘intent’ of either of the Defendants regarding its actions for development,
           approval and commercialization of XARELTO in the United States.

       21. I have attached a copy of my most recent Curriculum Vitae attached as APPENDIX A
           and a list of my last four years of deposition and court testimony as APPENDIX B. I
           am charging $500/hour for review and $1000/hour for deposition or court testimony.


 II.    OVERVIEW

    A. PURPOSE OF REVIEW

       22. I have attempted to focus my Expert Report specifically on FDA-related regulatory
           issues for XARELTO, which was approved by FDA (NDA 22439) in November 2011
           for stroke prevention in patients with atrial fibrillation, and its subsequent marketing in
           the United States. The regulatory discussion must also include Defendants’ conduct
           and findings in its other FDA approved indications for XARELTO beginning July 1,
           2011: 1) Deep Vein Thrombosis (DVT) and Pulmonary Embolism (PE) prophylaxis in
           patients undergoing orthopedic hip or knee replacement surgeries (“VTE-P”)(NDA
           22406 July 1, 2011- 10mg immediate release); and 2) treatment of DVT and/or PE and
           reduction in recurrence of DVT and/or PE (“VTE-T”) and commitment to the Pediatric
           Research Equity Act (PREA) to develop pediatric indications (NDA 22406-Supplement
           S-001, S-002, and S-003 approved November 2, 2012 ).

       23. The regulatory discussion also must include FDA’s denial of the NDA for the
           indication of Acute Coronary Syndrome (“ACS”) based on its flawed ATLAS clinical
           studies (see FDA Advisory Panel Meeting May 23, 2012),3 and the January 2014
           Advisory Panel meeting to review approval of the 2.5 mg dose for AC, which was also
           subsequently denied.4 In terms of showing the corporate histories of both sets of
           Defendants,5 and poor attention and control of its clinical studies, there must be a
           description of FDA’s identification of inadequacies and shortcomings in the conduct of
           Defendants’ clinical studies and audits including RECORD 4, EINSTEIN, ATLAS,


The common side effect of warfarin is hemorrhage (bleeding). The risk of bleeding is small but definite (a median
annual rate of 1-3% has been reported.” [see Holbrook, et al. Evidence-based management of anticoagulant
therapy: Antithrombotic Therapy and Prevention of Thrombosis, 9th ed: American College of Chest Physicians
Evidence-Based Clinical Practice Guidelines. Chest (2012) 141(2 Suppl): e152S-84S. PMC 3278055. PMID
22315259] The most catastrophic risk of warfarin bleeding is in the brain (intracerebral hemorrhage/hemorrhagic
stroke) and the spinal cord. The risk of bleeding greatly increases once the patient’s INR is > 4.5.
3
  XARELTO_BPAG_02515034; XARELTO_BPAG_02515046.
4
  XARELTO_BPAG_00055741.
5
  Bayer Healthcare Pharmaceuticals, Inc, Bayer Pharma AG, Bayer Corporation, Bayer Healthcare LLC, Bayer
Healthcare AG, and Bayer AG (“Bayer”); Janssen Research & Development LLC, Janssen Ortho LLC, Jansen
Pharmaceuticals Inc., Johnson & Johnson(“Janssen”); also referred to herein as “Defendants” or “Sponsor(s)”.

                                                         7
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              MAGELLAN, CHF, as well as ROCKET. These studies and FDA’s actions with
              Defendants for approval and denial of indications are provided to show the interaction
              history with FDA and the Defendants’ internal corporate histories, knowledge and
              notice about the performance dose-response risks of XARELTO in terms of major
              bleeding risk and its subsequent failure to adequately label and warn physicians and
              patients.

         24. The United States regulatory discussion must also touch upon various interactions
             between Defendants and the European Union’s European Medicines Agency (EMA)
             for XARELTO as it relates to sales in the United States. The EMA is included to again
             provide corporate actions and notice to Defendants, and also to contrast Defendants’
             actions with different regulatory bodies in terms of FDA, again as related to United
             States physicians and the safety of their patients.

         25. Sanjay Jalota, of Janssen’s Regulatory Affairs, who interacted with FDA, testified that
             Bayer conducted RECORD (1-4) for the hip and knee indication, EINSTEIN for the
             DVT/PE indication, and MAGELLAN for the proposed medically ill patients
             indication; and Janssen conducted ROCKET for the atrial fibrillation (AFib) indication
             and ATLAS for the proposed Acute Coronary Syndrome (ACS) indication.6 Neither
             the medically ill indication nor the ACS indication resulted in FDA approval. Through
             an October 1, 2005 Collaboration Agreement7 with Bayer, the developer of
             rivaroxaban, Janssen became involved in the worldwide development and United States
             sales of XARELTO. Bayer retained responsibility for XARELTO manufacturing and
             marketing outside the United States and for overseeing drug safety throughout the
             world including the United States.

       B. DEPOSITIONS REVIEWED

         26. I have reviewed the following Bayer corporate depositions and exhibits:
             Dr. Andrea Derix (Vol I&II); Dr. Tomasz Dyszynski; Dr. Martin Homering (Vol I&II);
             Dr. Andrea Horvat-Broecker; Dr. Dagmar Kubitza (Vol I&II); Dr. Frank Misselwitz;
             Dr. Wolfgang Mueck(Vol I&II); Dr. Theodore Spiro (Vol I&II); Dr. Juergen Weber
             (Vol I&II); Dr. Stefan Willmann; Dr. Martin van Eickels; Dr. Bernard Glombitza; Mr.
             Andy Hargreaves.

         27. I have reviewed the following Janssen corporate depositions and exhibits:
             Dr. Paul Burton (Vol I,&II) ; Dr. William Byra (Vol I&II) ; Dr. Peter DiBattiste (Vol
             I&II); Susan Geiger; Paul Herman (Vol I&II); Sanjay Jalota (Vol I&II); Sigmond
             Johnson (Vol I&II); Andrea Kollath (Vol I&II) ; Kenneth Todd Moore; Michael Moye
             (Vol I&II) ; Dr. Christopher Nessel (Vol I&II) ; Dr. Gary Peters; Alla Rhoge; Gregg
             Ruppersberger (Vol I&II); Troy Sarich; Nauman Shah; Elizabeth Wood; Christopher
             Major; Kimberly Nessel; Bernadette O’Brien; Purve Patel; Anne Vosatka; Dr. Shujian
             Wu; and Dr. Zhong Yuan.


6
    Jalota depo 3/3/16, p. 81: L 1-24; Jalota depo 3/4/16, p. 683: L 1-9.
7
    Derix Exhibit 73

                                                             8
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      C. RELIANCE LIST

         28. I have also reviewed additional documents as cited within my report, and/or listed on
             my Reliance List (APPENDIX C).

         D. PUBLICLY AVAILABLE FDA DOCUMENTS AND MEDICAL LITERATURE

         29. I have also obtained public FDA documents from FDA’s website, including FDA’s
             Advisory Panel and Public Workshop transcripts and briefing materials, and CDER’s
             published XARELTO NDA 202439 and NDA 022406, including accompanying review
             materials, labels, and notifications.

III. OPINIONS

All opinions set forth in my report are stated to a reasonable degree of medical certainty. I
reserve the right to modify or supplement this report and my opinions.

      A. OPINION 1

           Pharmaceutical manufacturers throughout the drug development process have a duty to
           define the pharmacologic properties of its drug for a therapeutic indication and to remain
           the knowledgable expert about the pertinent adverse effects. Prescription drugs sold to
           the public are required to be adequately labeled and sold with recommendations for a safe
           and effective dose. Before FDA’s NDA approval of XARELTO for stroke and systemic
           embolism prevention for patients with nonvalvular Atrial Fibrillation (SPAF), Defendants
           already had a ‘consensus’8 internally that the 20mg/15mg OD dose for AF patients was
           too high. Without providing monitoring recommendations or the ability for a physician
           to adjust a patient’s dose, certain patients were placed at increased risk of major bleeding
           without additional benefit. Despite the increased risk of XARELTO for major bleeding
           and death, and having received the FDA’s multiple recommendations to modify and/or
           lower the dose based on patient risk including for SPAF ,Defendants continue to sell
           XARELTO for SPAF at 20mg OD without providing adequate warnings for patients.

           Applicable Regulations: 21 USC§ 331(a)(b); 21 USC§ 352(a)(f)(1)(2), (n); 21 CFR§
           201.57; 21 CFR§ 314.50

      B. OPINION 2

           Defendants, from the dose ranging Phase IIb Study 11527 and Study 19044 (PK000131)
           with rivaroxaban plasma concentration measurements (PK), knew of the inter-individual
           variability and differences (slow/fast) in patient absorption over time of a single dose of
           rivaroxaban. Such information, along with a narrow therapeutic window (bounded on
           one hand by a risk of major bleeding and the other side by loss of efficacy) should have
           placed a reasonable NOAC manufacturer on notice to carefully study, identify and
           develop recommendations for therapeutic drug monitoring (“TDM”) and proper dose
8
    Burton Exhibit 55

                                                    9
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    titration in specific populations, and situations, at increased risk (and when “one size
    does not fit all”). Defendants have been informed by the FDA (as well as the EMA and
    other health authorities) and physicians that to improve patient safety, there must be
    methods for periodic monitoring of anticoagulation effect, dose titration and updating the
    label. Despite those many requests, Defendants continued to not adequately study the
    exposure-risk benefits of XARELTO.

    Applicable Regulations: 21 USC§ 331(a)(b); 21 USC§ 352(a)(f)(1)(2), (n); 21 CFR
    §201.57; 21CFR§ 314.80; 21 CFR §312

 C. OPINION 3

    XARELTO as sold by Defendants has the highest risk of major bleeding among the
    NOACs. The FDA Medical Officer Reviews indicated that XARELTO should be
    reserved by physicians to a second or third choice of anticoagulant for AF and that there
    was no reason to switch a patient successfully managed with warfarin to XARELTO.
    However, XARELTO has become the most frequently prescribed NOAC in the United
    States for SPAF and now has surpassed warfarin prescritions for AF patients. Defendants
    market XARELTO aggressively as a once a day drug and overstate unsupported benefits.

    Applicable Regulations: 21 USC 331(a)(b); 21 USC 352(a)(f)(1)(2), (n); 21 CFR 201.57

 D. OPINION 4

    Defendants obtained FDA’s approval for the SPAF indication based on the ROCKET
    trial, which utilized a faulty investigational INR point-of-care (POC) device for the
    management of the warfarin patients. The flaw in the POC device generated lower INRs
    for the warfarin patients, thereby increasing the bleeding risk for warfarin patients, and
    contributing to the finding of non-inferiority (not superiority) for the safety of
    XARELTO. Moreover, the poor INR control seen in the warfarin treatment group was a
    symptom of the poor quality and oversight for the investigation. Further, Defendants
    obtained NDA approval of VTE prevention in hip/knee surgeries using portions of its
    flawed RECORD studies. The DVT/PE prevention indication was also granted as a
    supplemental NDA based on the original VTE prevention indication using the flawed
    RECORD studies. The proposed ACS indication was denied twice based on significant
    flaws and loss of patient data with Defendant’s ATLAS studies. Such a history of poor
    control of the performance and oversight of its international clinical trials undermines the
    reliability of XARELTO placingpatients at increased risk of bleeding.

    Applicable Regulations: 21 CFR§ 812; 21 CFR§ 314.50

 E. OPINION 5

    As early as 2008, the 20mg OD dose for Xarelto for the SPAF indication (i.e., 15/20mg
    OD) was shown to be too high and carried an increased risk of bleeding. Defendants
    planned for a ROCKET II study with lower and BID dosing, but it was halted shortly
    after receipt of comments by Marketing advising not to pursue the study based on
                                             10
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         potential harm to sales . ROCKET II was to be performed to optimize dose and help
         reduce the risk of bleeding. Defendants’ actions have placed United States atrial
         fibrillation patients at increased risk for bleeding from too high exposure to XARELTO.

         Applicable Regulations: 21 USC§ 352(a)(f)(f)(2); 21 CFR§ 314.70

      F. OPINION 6

         FDA’s drug labeling requires a manufacturer to identify any laboratory tests helpful in
         following the patient’s response or in identifying possible adverse reactions. Defendants
         have not provided an adequate label with updated laboratory and risk information,
         Defendants proposed a Section 5 Laboratory Tests section (based on the Lovenox label)
         as a contingency9 if pushed by FDA for creation of such a section. Using common
         laboratory studies, Defendants identified and utilized rivaroxaban’s linear concentration-
         effect relationship for a biomarker of anticoagulant effect and reflection of plasma
         concentration at Cmax and Ctrough (by PT max and PT trough). According to Bayer’s
         Dr. Mueck (2014), prolongation of the PT (using Neoplastin) was correlated with the
         rivaroxaban plasma concentrations in a linear relationship.10 Defendants knew there was
         a relationship between XARELTO PT levels (as a measurement of anticoagulation effect)
         and bleeding risk, and PT could be used to identify patients at increased risk of bleeding.

         Applicable Regulations: 21 USC§ 352(a)(f)(f)(2), 21 CFR§ 1.21, 21 CFR§ 201.57

      G. OPINION 7

         Measurement of PT (using Neoplastin Plus or another appropriately sensitive reagent) in
         XARELTO patients can be helpful in identifying patients at increased risk for serious
         adverse events based upon a patients’ anticoagulant response to XARELTO. Obtaining
         PT allows a physician in clinical decision-making to determine if XARELTO is the
         appropriate drug for a patient and to decide whether the patient should continue on
         XARELTO therapy.

         Applicable Regulations: 21 USC§ 352(a)(f)(f)(2), 21 CFR§ 1.21, 21 CFR§ 201.57

      H. OPINION 8

         Defendants failed as the ROCKET-AF sponsor to adequately identify a suitable point-of-
         care (POC) device for reliable management of warfarin and patient safety for the
         ROCKET trial beginning with the due diligence stage. Defendants failed to validate the
         acceptable performance of the ALERE/HemoSense INRatio POC device. Defendants
         failed as IND and clinical trial sponsor to: 1) select a safe and effective device or method
         for determination of warfarin management; 2) adequately monitor the performance of the
         POC INRatio device during ROCKET worldwide; 3) implement back-up methods

9
 XARELTO_JANSSEN_05911809.
10
  Mueck, et al. Clinical Pharmacokinetic and Pharmacodynamic Profile of Rivaroxaban, Clin Pharmacokinet
(2014) 53:1-16.

                                                     11
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           including laboratory testing to protect patient safety; 4) investigate and report adverse
           events and failures of the device to the appropriate Adverse Event database; 5)
           adequately instruct and provide an algorithm to investigators for warfarin management.
           Such actions by Defendants in the role of sponsor of a worldwide pivotal clinical study,
           served to underestimate the true bleeding risk for AF patients on XARELTO as compared
           to warfarin.

           Applicable Regulations: 21 USC§ 352(a)(f)(f)(2), 21 CFR§ 312

      I. OPINION 9

           At the ROCKET TASK FORCE meeting held in September 2015, Defendants
           acknowledged the following: a flaw in the algorithm associated with incorrect readings
           with the INRatio device.; that 3400 devices used in ROCKET were included in Alere’s
           recall in December 2014; 32% of POC values were greater than .5 units different from
           paired lab values; and that INRs of 3.1 to 12.2 fell below the lab measurements and had
           the risk for overanticoagulation and fatal bleeding. 9

           Applicable Regulations: 21 CFR§ 820; 21 USC 331(a)(b; 21 CFR§ 314.50

      J. OPINION 10

         a. Defendants failed to fulfill their duties as United States Pharmaceutical manufacturers
            when they did not provide truthful, accurate and full disclsoures for ROCKET and
            adverse events associated by:

                           Failing to adequately report, investigate, and document erroneous/discrepant
                            INR readings occurring during ROCKET to the clinical trial database and
                            reports for regulatory agencies, (including the FDA).

                           Failing to adequately report erroneous/discrepant INR values and associated
                            adverse events for ROCKET to the IDMC and Executive Committee.

         b. Defendants failed to fulfill their duties as United States Pharmaceutical manufacturers
            when they did not provide truthful, accurate and full disclosure about ROCKET and
            associated adverse events requested of them by by FDA:

                           Failing to identify and report erroneous/discrepant INR values and
                            associated adverse events (including but not limited to the Covance Recheck
                            Program) in response to the FDA’s March 2011 Infornation Request.

                           Failing to report discrepant INR values in response to the January 12, 2016
                            FDA Information Request.


9
    Nessel Exhibit 40

                                                      12
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                  Failing to inform FDA about the CoVance Recheck program in response to
                   the January 12, 2016 FDA Information Request.
         Applicable Regulations: 21 CFR §314.80; 21 CFR§ 314.81, 18 USC § 1001

 K. OPINION 11

    The XARELTO label is inadequate in the following ways:

    a. Xarelto has a comparable risk of major bleeding to that of warfarin. However, in
       contrast to the warfarin label, the Xarelto label does not contain a black box warning
       about the risk of major bleeding. By including a black box warning about bleeding
       risk in one product’s label and not the other’s, it improperly suggests to physicians
       and patients that one is safer than the other when it is not supported by substantial
       evidence.

    b. It does not contain the distribution of patient PK values observed in the clinical trial
       program. Because the range and distribution of observed exposures was large, and
       due to the relationship between exposure and outcomes, this is important information
       for physicians.

    c. There is no recommendation for physicians to measure the levels of XARELTO or
       the drug effect (e.g., PT Neoplastin) in a patient’s blood in order to adjust the dose
       and/or discontinue the drug to avoid unnecessary risk.

    d. It does not have the same plasma concentration information and the commercial use
       of anti-factor XA calibrators and control required in the European label. Defendants
       have also failed to provide data on the correlation between plasma concentrations,
       major bleeding, and efficacy.

    e.     It fails to include adequate instructions on helpful laboratory testing (e.g,.
          prothrombin time).

    f. It fails to provide physicians with the severity and frequency of post-marketing
       bleeding risk reported.

    Applicable Regulations: 21 USC§ 352(a)(f)(1)(2); 21 CFR§ 314.70

 L. OPINION 12

    A United States pharmaceutical manufacturer has a duty to exercise reasonable care to
    avoid foreseeable injury to the users of its products. Further, a manufacturer has a duty to
    adequately test its products commensurate with the dangers involved and to minimize the
    risk of foreseeable injury.
    Defendants failed to exercise reasonable care and adequately test its products in that
    Defendants failed to conduct any dose-ranging studies in patients with atrial fibrillation to


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           determine the safest effective dose. As a result, despite being aware of Xarelto’s
           pharmacological profile that indicated either a lower dose or a twice-daily dose would
           place patients at a lower bleed risk while maintaining a level of Xarelto to effectively
           reduce the risk of stroke, Defendants failed to conduct any testing in the ROCKET AF
           study of either a lower dose or twice daily dosing. Defendants also failed to voluntarily
           update its labeling to provide adequate instructions for use and warnings to ensure the
           safety of patients.

           Applicable Regulations: 21 USC§ 331(a)(b); 21 USC §352(a)(f)(1)(2)(n); 21 CFR
           §314.50; 21 CFR§ 201.57; 21 CFR §314.70

       M. OPINION 13

           Defendants’ failure to test either a lower dose pill or twice-daily dose as initially planned
           but not investigated, for ROCKET II, and make such a lower dose pill or twice-daily dose
           available for use renders Xarelto unreasonably dangerous as designed. Further, a safer
           alternative design existed; primarily, a lower dose pill with periodic laboratory testing
           that would reduce the risk of bleeding.

           Applicable Regulations: 21 CFR§ 314.50; 21 CFR§ 314.70; 21 USC §352(a)(f)(1)(2)(n)

       N. OPINION 14

           Defendants’ engaged in direct-to-consumer (DTC) marketing by TV, internet, placement
           in doctor’s offices, third party support groups, to specifically target patients that were
           well managed on warfarin and encourage a switch to XARELTO10. Patients were
           encouraged to ask physicians for XARELTO for the lifestyle convenience, but
           Defendants failed to inform patients or physicians of the potential increased risks for
           major bleeding and lack of a reversal agent.

           Applicable Regulations: 21 USC§ 352(a)(f)(f)(2), 21 CFR 202.1; 21 CFR 1.21, 21 CFR
           201.57

       O. OPINION 15

           Defendants’ sales representatives actively promoted XARELTO for unapproved clinical
           indications by use of publications by Defendants’ Research and Development
           department. These publications were not balanced or accurate, and overstated benefits
           without adequately providing risks to health care providers. The publications were
           distributed by Janssen to support claims like ‘superiority’ or unapproved efficacy of
           Xarelto for expanded, unapproved indications, for example ACS, medically ill patients,
           and congestive heart failure. Also, Defendants’ EINSTEIN studies were used to support
           superiority of XARELTO compared to warfarin for ROCKET. Futher, sales
           representatives circulated the May 9, 2009 Lancet article by Turpie, et al. regarding the
10
     Herman Exhibit 5

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                 RECORD 4 study with no correction or update for physicians, or Lancet, indicating that
                 the FDA concluded that the entire RECORD 4 study was flawed and unreliable. 11 This
                 article was further revised in 2013, yet still not corrected, to help with sales.

                 Applicable Regulations: 21 CFR§ 314.70; 21 USC 331(a)(b); 21 CFR 201.128; 21 CFR
                 202.1

             P. OPINION 16

                 Defendants acted unscientifically by persisting in pursuit of a marketing goal from
                 200212 to sell a once-a-day, direct oral anticoagulant (DOAC) tablet, requiring no
                 monitoring or laboratory testing despite the foreseeable risks for bleeding and potential
                 harm for patients.. The Defendants’ marketing plan was to provide a drug taken
                 permanently by AF patients as more convenient than warfarin but with greater risk for
                 bleeding and death for certain United States patient groups. Defendants continue to make
                 these Xarelto marketing claims as a once a day single dose or “one size fits all” without
                 adequate warnings and dose information and despite the contrary science for rivaroxaban
                 seen throughout its development, recommendations of physicians and experts, and the
                 post-market reports of increased life-threatening bleeding risks for patients.

                 Applicable Regulations: 21 CFR§ 314.50; 21 CFR§ 314.70; 21 USC
                 §352(a)(f)(1)(2)(n); 21 USC §331(a)(b); 21 CFR§ 1.21


IV.          BAYER HEALTHCARE’S DEVELOPMENT OF BAY 59-7939 (RIVAROXABAN)

      a. BAYER’S ‘GO/NO-GO’ PLAN FOR BAY 59-7939 WAS AS A FIXED DOSE, NO
         MONITORING ORAL ANTICOAGULANT

             30. In June 25, 2002, Bayer created a “Go-No-Go” plan for the development of BAY 59-
                 7939, a factor Xa inhibitor, as to acceptable versus not acceptable findings in Phase I to
                 Phase IIa testing, Phase IIa to Phase IIb testing, and finally Phase IIb to Phase III testing.
                 For the Phase I to Phase IIa period, a “NO GO” with development would be “toxicity,
                 lack of dose-response, intolerable high inter- and intra-individual variations.” Specific
                 criteria for stopping development (NO-GO): “Impossible to reach inhibition of factor Xa
                 activity in plasma of 70% in peak or 30% in trough by three times a day (tid) dosing.”
                 The “GO” criteria for that phase included the definition of a dose response; inter- and
                 intra-individual variations were low; and the drug allowed for unmonitored dosing. At
                 the Phase II a to Phase IIb stage the “NO GO” criteria were: toxicity, lack of dose-
                 response, too narrow a therapeutic window, and more than tid dosing required. Specific
                 NO-GO criteria also included all the doses tested were shown to be inferior to
                 enoxapaprin (Lovenox). The GO criteria included the clinically effective dose did not
                 cause major bleeding >4%. For the later Phase IIb to Phase III, the “NO GO” Specific
                 criteria included: Therapeutic index too narrow, unable to go for “fixed, unmonitored

      11
           Burton Exhibit 17
      12
           Derix Exhibit 73

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